                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    at CHATTANOOGA

UNITED STATES OF AMERICA                              )
                                                      )       Case No. 1:12-cr-115
                                                      )
v.                                                    )
                                                      )       MATTICE / LEE
PAMELA WALTERS                                        )

                                             ORDER

       Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

(1) grant Defendant’s motion to withdraw her not guilty plea to Count One of the four-count

Indictment (2) accept Defendant’s plea of guilty to the lesser included offense of the charge in Count

One, that is of conspiracy to manufacture and distribute Five (5) grams or more of methamphetamine

(actual) and Fifty (50) grams or more of a mixture and substance containing a detectable amount of

methamphetamine, a Schedule II controlled substance, in violation of 21 U.S.C. §§ 846, 841(a)(1),

and 841(b)(1)(B); (3) adjudicate Defendant guilty of the lesser included offense of the charge in

Count One, that is of conspiracy to manufacture and distribute Five (5) grams or more of

methamphetamine (actual) and Fifty (50) grams or more of a mixture and substance containing a

detectable amount of methamphetamine, a Schedule II controlled substance, in violation of 21 U.S.C.

§§ 846, 841(a)(1), and 841(b)(1)(B); (4) defer a decision on whether to accept the plea agreement

until sentencing; and (5) Defendant has been released on bond under appropriate conditions of

release pending sentencing in this matter [Doc. 60]. Neither party filed a timely objection to the

report and recommendation. After reviewing the record, the Court agrees with the magistrate judge’s

report and recommendation. Accordingly, the Court ACCEPTS and ADOPTS the magistrate

judge’s report and recommendation [Doc. 60] pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as




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follows:

       (1)   Defendant’s motion to withdraw her not guilty plea to Count One of the Indictment

             is GRANTED;

       (2)   Defendant’s plea of guilty to the lesser included offense of the charge in Count One,

             that is of conspiracy to manufacture and distribute Five (5) grams or more of

             methamphetamine (actual) and Fifty (50) grams or more of a mixture and substance

             containing a detectable amount of methamphetamine, a Schedule II controlled

             substance, in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(B) is

             ACCEPTED;

       (3)   Defendant is hereby ADJUDGED guilty of the lesser included offense of the charge

             in Count One, that is of conspiracy to manufacture and distribute Five (5) grams or

             more of methamphetamine (actual) and Fifty (50) grams or more of a mixture and

             substance containing a detectable amount of methamphetamine, a Schedule II

             controlled substance, in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(B);

       (4)   A decision on whether to accept the plea agreement is DEFERRED until sentencing;

             and

       (5)   Defendant SHALL REMAIN on bond under appropriate conditions of release

             pending sentencing in this matter, which is scheduled to take place on Monday, June

             3, 2013 at 2:00 p.m. before the Honorable Harry S. Mattice, Jr.

       SO ORDERED.

       ENTER:

                                                        /s/Harry S. Mattice, Jr.
                                                        HARRY S. MATTICE, JR.
                                                   UNITED STATES DISTRICT JUDGE

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